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  IT IS ORDERED as set forth below:



  Date: October 28, 2022
                                                           _________________________________

                                                                    Jeffery W. Cavender
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                            )   CHAPTER 13
LAVELLE LUNDRE JOHNSON                            )   CASE NUMBER A19-67346-JWC
                                                  )
                                                  )
            DEBTOR

   CONSENT ORDER ON TRUSTEE’S MOTION TO DISMISS FOR FAILURE TO
                PROVIDE TAX RETURNS OR REFUNDS
       On October 26, 2022 at 1:30 pm, the Court held a hearing on the Trustee’s Motion to

Dismiss based upon the failure of the Debtor to remit tax return(s) or refund(s) to the Chapter 13

Trustee. It further appears to the Court that the Debtor, through counsel, agreed at the call of the

Court’s calendar to a consent agreement. For cause shown, IT IS HEREBY

       ORDERED, that the Debtor shall remit their Federal Income tax return or proof of an

Income Tax Extension to the Trustee by May 15th of each calendar year for the remaining years

the case is pending. If an extension is provided then the Debtor must provide the actual return to

the Trustee by the extension deadline to be in compliance with the terms of this Order.

Additionally, unless further Court order allows retention, the Debtor shall pay any tax refund for

the years of the Debtor’s Applicable Commitment Period or any other agreed upon years to the
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Trustee by May 15th of each calendar year. If the Debtor fails to provide either the tax refund or

tax return to the Trustee by May 15th or the date of the granted extension then the case shall be

dismissed without further hearing upon receipt of the Chapter 13 Trustee's Supplemental Status

Report requesting an Order of Dismissal. The Debtor may also submit notice to the Trustee that

they are not required to file Federal Income Tax Returns or notice to the Trustee if the

anticipated refund has not been received by the Debtor by the May 15th due date. Prior to

recommending dismissal the Trustee shall contact the Debtor's attorney via email to alert them of

the default at least 10 business days prior to recommending dismissal by supplemental report.

Additionally, a letter will be sent to the Debtor each calendar year requesting a copy of the tax

return and IT IS FURTHER

        ORDERED, that due to the Debtor spending the Federal Income tax refund(s) for the

2021 tax year(s) without prior permission of the Court, the plan base is hereby increased by

$1,000.00.

        The Clerk of the Court is directed to serve this Order on the parties included in the

attached distribution list.

                                     END OF DOCUMENT

CONSENTED TO BY:

/s/_______________________________              /s/________________________________
  Julie M. Anania                                  Christopher Sleeper
  Attorney for the Chapter 13 Trustee              Attorney for Debtor
  State Bar No. 477064                             State Bar No. 700884
  303 Peachtree Center Avenue, NE                  R. Jeffrey Field & Associates
  Suite 120                                        342 N. Clarendon Ave
  Atlanta, GA 30303                                Scottdale, Ga 30079
  678-992-1201                                     Signed by Julie M. Anania
                                                   with express permission
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                                 DISTRIBUTION LIST

Case No.: A19-67346-JWC


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Mcdonough, Ga 30252


Debtor Attorney:
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Chapter 13 Trustee:
Nancy J. Whaley
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